
PER CURIAM:
This claim was submitted for decision based upon the allegations in the Notice of Claim at the respondent’s Answer.
The claimant, Cabell County Commission, is responsible for the incarceration of prisoners who have committed crimes in Cabell County, but have been sentenced to facilities owned and maintained by respondent, Division of Corrections. The claimant brought this action to recover the costs for providing medical care to prisoners who have been sentenced to a state penal institution, but due to circumstances beyond the control of the county, these prisoners have had to remain in the custody of the county for periods of the time beyond the date of the commitment order.
The Court previously determined in County Comm’n. of Mineral County vs. Division of Corrections, unpublished opinion issued November 21, 1990, CC-89-340, that the respondent is liable to the claimant for the cost of housing and providing medical care to inmates sentenced to a State penal institution.
Pursuant to the holding in Mineral County, the respondent reviewed this claim to determine the invoices for the services for which it may be liable. Respondent then filed an answer admitting the validity of the claim in the amount of $826.13.
*56On November, 17, 1995, the claimant’s attorney contacted the Court and indicated that it would accept $826.13 as complete satisfaction for its claim.
In view of the foregoing, the court makes an award to claimant in the amount of $826.13.
Award of $826.13.
